                               Case 5:14-cv-00087-EJD Document 75-1 Filed 04/28/15 Page 1 of 2



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                           5   Attorneys for Defendant SIMON BARBER

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                           8                                  UNITED STATES DISTRICT COURT
                           9                            NORTHERN DISTRICT OF CALIFORNIA
                          10                                       SAN JOSE DIVISION
                          11

                          12
                               PETE MORICI, an individual,                  Case No. 14-CV-00087-EJD
                          13
                                                 Plaintiff,                 DECLARATION OF CRAIG A. PINEDO
                          14                                                IN SUPPORT OF DEFENDANT SIMON
                                     v.                                     BARBER’S RENEWED
                          15                                                ADMINISTRATIVE MOTION TO FILE
                               HASHFAST TECHNOLOGIES LLC, a                 PORTIONS OF DOCUMENT UNDER
                          16   California limited liability company,        SEAL
                               HASHFAST LLC, a Delaware limited
                          17   liability company, SIMON BARBER, an          Date:      June 4, 2015
                               individual, and EDUARDO deCASTRO,            Time:      9:00 a.m.
                          18   an individual,                               Courtroom: 4, 5th Floor
                                                                                       280 South 1st Street
                          19                     Defendants.                           San Jose, CA 95113
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    PINEDOLAW
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                                          CAP DECLARATION IN SUPPORT OF RENEWED ADMINISTRATIVE MOTION TO SEAL
                               Case 5:14-cv-00087-EJD Document 75-1 Filed 04/28/15 Page 2 of 2



                           1          I, Craig A. Pinedo, state and declare as follows:

                           2          1.       I am an attorney with PinedoLaw, counsel of record for defendant Simon Barber

                           3   in this action. I make this Declaration in support of Mr. Barber’s renewed motion to seal

                           4   (Motion), filed concurrently herewith. I have record and/or personal knowledge of the matters

                           5   stated herein and, if called to testify, could and would competently testify thereto.

                           6          2.       The document at issue in this Motion consists of relevant excerpts (pages 1, 15

                           7   and 17) from a 17-page “Statement of Work” document (SOW) identified and relied upon by

                           8   plaintiff in paragraphs 25-27, 78-79, and 84 of his First Amended Complaint (FAC). All 17

                           9   pages of the SOW have been designated “Confidential” by a third party, Uniquify, as indicated

                          10   by a “Confidential” stamp at the bottom of each page.

                          11          3.       I have served a copy of Barber’s previous motion to seal (Docket Item No. 63)

                          12   and this Court’s Order Denying Without Prejudice Defendant’s Motion to Seal (Docket Item

                          13   No. 71) on counsel for Uniquify, Nina Yablok, and conferred with Ms. Yablok regarding a

                          14   renewed motion to seal. Uniquify’s counsel has requested that Barber move to seal page 15 in

                          15   its entirety and page 17 (section 14.3 only) of the Statement of Work. These excerpts contain

                          16   pricing information that Uniquify has indicated it considers to be a trade secret, has always kept

                          17   confidential, and the public disclosure of which would severely impact its commercial interests.

                          18          4.       I am informed and believe that Uniquify intends to file a declaration setting forth

                          19   additional facts in support of this motion to seal in accordance with Civil L.R. 79-5.
                          20          I declare under penalty of perjury under the laws of the United States of America that

                          21   the above statements are true and correct.
                          22          Executed this 28th day of April, 2015, in San Francisco, California.

                          23

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                                                                                               /s/ Craig A. Pinedo
                          25                                                                   CRAIG A. PINEDO

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                                                                                2.
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                                           CAP DECLARATION IN SUPPORT OF RENEWED ADMINISTRATIVE MOTION TO SEAL
